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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

GARY LEON WILLIAMS,                                )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )     Case No. CIV-24-857-SLP
                                                   )
OMES RISK MANAGEMENT, et al.,                      )
                                                   )
       Defendants.                                 )

                                        ORDER

       Plaintiff, proceeding pro se and in forma pauperis, brings this action pursuant to

several federal statutes, including 42 U.S.C. § 1983. The matter was referred to United

States Magistrate Judge Chris M. Stephens pursuant to 28 U.S.C. § 636(b)(1)(B) and (C).

On November 19, 2024, Judge Stephens issued a Report and Recommendation [Doc. No.

14] in which he recommended the Court dismiss this action because the Second Amended

Complaint [Doc. No. 13] failed to state a claim.

       Judge Stephens advised Plaintiff of his right to file an objection by December 10,

2024, and further advised him that failure to make timely objection waives the right to

appellate review of both factual and legal issues contained therein. [Doc. No. 14] at 8. To

date, Plaintiff has not filed an objection to the R. & R., nor has he requested an extension

of time in which to do so. Therefore, the Court finds that Plaintiff has waived further

review of all issues addressed in the R. & R. See Moore v. United States, 950 F.2d 656,

659 (10th Cir. 1991); see also United States v. 2121 E. 30th St., 73 F.3d 1057, 1060 (10th

Cir. 1996).
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      Accordingly, the Report and Recommendation [Doc. No. 3] is ADOPTED in its

entirety, and this matter is DISMISSED without prejudice.

      IT IS SO ORDERED this 13th day of December, 2024.




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